Case 1:18-cr-00088-BLW Documentl Filed703/13/18 Page lof8

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT-OF IDAHO

 

 

UNITED STATES OF AMERICA, ' ' _ _ _
CaseNo. cR - 1 8 0 8 8 S BLW
Plaintiff, .
INDICTMENT
vs.
18 U.S.C. § 1343
RlCHARD GUYON, 18 U.S.C. § 1349
A/K/A RICK GUYON, 18 U.S.C. § 982(a)(2)(A)
A/K/A RICK GARRISON, -
A/K/A MARK THOMAS,
Defendant.
The Grand Jury charges:
GENERAL ALLEGATIONS

At all times relevant to the Indictment:

1. Mountain West Bank, a division of Glacier Bank With headquarters in Coeur
d’Alene, Idaho, is a financial institution as defined by 18 U.S.C. § 20(1), as an insured
depository institution. Mountain West Bank offers its customers checking and savings account

services, credit and debit cards, and online banking productsl

INDICTMENT - 1

 

Case 1:18-cr-00088-BLW Document 1 Filed 03/13/18 Page 2 of 8

2. TD Ameritrade is a brokerage firm based in Omaha,_Nebraska. TD Ameritrade
provides online investment services for individuals and institutions

3. The Federal Reserve Banks provide payment system services to financial
institutions, among other functions.

4. Mountain West Bank and Tf) Ameritrade clear checks by depositing cash letters
with the F ederal Reserve Banks. As a result, the Federal Reserve account of the depositing
institution is credited, and the F ederal Reserve account of the paying institution is debited. This

process results in an interstate wire transfer of financial information

COUNT ONE

Conspiracy to Commit Wi_re Fraud
18 U.S.C. § 1343, 1349

5. From in or about 2015 to in or about 2017, in the District of ldaho and elsewhere,
the defendant, RICHARD GUYON, A/K/A RICK GUYON, A/K/A RICK GARRISON, A/K/A
MARK THOMAS, did knowingly and intentionally combine, conspire, confederate, and agree
with others known and unknown to the Grand Jury to commit certain offenses against the United
States, namely Wire Fraud, that is, by devising and intending to devise a scheme and artifice to
defraud, as to material matters, to obtain money and property by means of materially false and
fraudulent pretenses, representations, and promises, and to misappropriate without authority
money and property belonging to individual investors, by knowingly transmitting and causing to
be transmitted by means of wire communication in interstate commerce any ,writings, signs,
signals, and sounds for the purpose of executing such scheme and artifice, all in violation of Title

18, United States Code, Sections 1343 and 1349.

INDICTMENT - 2

 

Case 1:18-cr-00088-BLW Document 1 Filed 03/13/18 Page 3 of 8

MANNER AND MEANS
b 6. In order to further the objects and goals of the conspiracy, the defendant used the
following manners and means, among others:

7. The defendant and others known and unknown to the Grand Jury made false and
fraudulent representations to individual investors regarding the defendant’s education, l
employment history, and financial condition

8. The defendant and others known and unknown to the Grand Jury made false and
fraudulent representations to individual investors that their money Would be invested in financial
markets and that the defendant would not collect any commissions on the investments

9. The defendant and others known and unknown to the Grand Jury made false and
fraudulent representations to individual investors regarding the returns on their investments.

10. The defendant and others known and unknown to the Grand Jury accepted money
from individual investors, deposited the investors’ money'into bank accounts, including accounts
at Mountain West Bank and TD Ameritrade, and spent the investors’ money on their own
personal expenses. The act of depositing the investors’ money into bank accounts resulted in
interstate Wire transfers of financial information

11. The defendant and others known and unknown to the Grand Jury acquired
approximately $1,956,400 from individual investors

OVERT ACTS

12. In furtherance of the conspiracy, and to effect the illegal objects thereof, the
following overt acts, among others, were committed in the District of Idaho and elsewhere:

13. In or about December 2015, the defendant and others known and unknown to the

Grand Jury met with investor S.F. at the home of D.T., during which they made false and

INDICTMENT - 3

 

Case 1:18-cr-OOO88-BLW Document 1 Filed 03/13/18 Page 4 of 8

fraudulent representations regarding the defendant’s background and management of foreign
investments

14. In or about January 2016, the defendant and others known and unknown to the
Grand Jury told investor N.A. that the defendant was managing his family’s investment money
and would include N.A. in global investments

15 . ' In or about spring 2016, the defendant and others known and unknown to the
Grand Jury told investor D.F. that the defendant was managing his family’S investment money
and would be willing to include D.F. in those investments

16. On or about April 14, 2016, the defendant and others known and unknown to the
Grand Jury sent false and fraudulent statement balances to investor N.A.

17. In or about October and November 2016, the defendant and others known and
unknown to the Grand Jury sent false investment balances to D.F. by text message,and falsely
assured D.F. that his investments Were doing Well and growing.

18. On or about December 19, 2016, the defendant and others known and unknown to
the Grand Jury met With investors S.F., D.M., and N.A., and other investors at the Banner Bank
building in Boise, Idaho, during which they distributed false and fraudulent investment
_ statements and made false and fraudulent representationsregarding the investments

19. On or about February 6, 2017, the defendant and others known and unknown to
the Grand Jury sent false and fraudulent account statements to investors

20. On or about March 3, 2017, the defendant and others known and unknown to the

Grand Jury sent false and fraudulent account statements to investors

INDICTMENT - 4

 

Case 1:18-cr-OOO88-BLW Document 1 Filed 03/13/18 Page 5 of 8

21. On or about March 22, 2017, the defendant and others known and unknown to the
Grand Jury met with investors at the home of D.T., during which they made false and fraudulent

representations regarding the status of the investors’ money.

COUNTS TWO THROUGH EIGHT

Wire Fraud
18 U.S.C. § 1343

22. The allegations set forth in Paragraphs 1 through 21 are hereby realleged as if set
forth herein as part of the scheme to defraud.

23. In or about 2015 through in or about 2017, in the District of Idaho and elsewhere,
the defendant, RICHARD GUYON, A/K/A RICK GUYON, A/K/A RICK GARRISON, A/K/A
MARK THOMAS, did devise and intend to devise a scheme to defraud, as to material matters,
individual investors, and to obtain money and property by means of materially false and
fraudulent pretenses, representations, and promises, and to misappropriate without authority
money and property belonging to individual investors

24. On or about the respective dates below, in the District of Idaho and elsewhere, the
defendant, for the purpose of executing the scheme described above, caused to be transmitted by
means of wire communication in interstate commerce the signals and sounds described below,

each transmission constituting a separate count of this Indictment:

INDICTMENT - 5

 

Case 1:18-cr-OOO88-BLW Document 1 Filed 03/13/18 Page 6 of 8

 

 

 

 

 

 

 

 

 

 

 

 

COUNT DATE DESCRIPTION OF WIRE AMOUNT

2 12/22/2015 Deposit of check drawn on E-'I`rade Bank on $100,000
behalf of S.F. '

3 4/15/2016 Deposit of check drawn on E-Trade Bank on $150,000
behalf of S.F.

4 5/24/2016 Deposit of check drawn on Digital Federal Credit $30,000
Union on behalf of D.F.

5 7/22/2016 Deposit of cashier’s check drawn on Wells Fargo $80,000
Bank on behalf of N.A.

6 10/11/2016 Deposit of cashier’s check drawn on Idaho $200,000
Central Credit Union on behalf of S.F.

7 10/11/2016 Deposit of check drawn on Zions Bank on behalf $250,000
of D.M.

8 2/17/2017 Deposit of cashier’s check drawn on Columbia $15,000
Bank on behalf of N.A. 7

 

All in violation of Title 18, United States Code, Section 1343.

CRIMINAL FORFEITURE ALLEGATION

Wire Fraud Forfeiture
18 U.S.C. § 982(a)(2)(A)

Upon conviction of the offenses alleged in Counts One through Eight of this lndictment,

in violation of 18 U.S.C. §§ 1343 and 1349, the defendant, RICHARD GUYON, A/K/A RICK

GUYON, A/K/A RICK GARRISON, A/K/A MARK THOMAS, Shall forfeit to the United

States any and all property, real and personal, tangible and intangible, consisting or derived from

any proceeds the said defendant obtained directly or indirectly as a result of the foregoing

offenses The property to be forfeited includes, but is not limited to, the following:

1.

Unrecovered Cash Proceeds and/or Facilitating Propertv. The defendant

obtained and controlled unrecovered proceeds of the offense of conviction, or property derived

INDICTMENT - 6

 

 

Case 1:18-cr-OOO88-BLW Document 1 Filed 03/13/18 Page 7 of8 ,

from or traceable to such proceeds, and property the defendant used to facilitate the offense, but
based upon actions of the defendant, the property was transferred, diminished, comingled, or is \
otherwise unavailable. The defendant obtained and controlled at least $1,956,400 in unrecovered
forfeitable property.

2. Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,
the government will seek forfeiture of substitute assets, “0r any other property of the defendant”
up to the value of the defendant’s assets subject to forfeiture. The government will do so when

the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;

c. Has been placed beyond the jurisdiction of the court; l

d. Has been substantially diminished in value; or

e. Has been commingled with other property which cannot be subdivided
without difficulty.

Dated this 13th day of March, 2018.

A TRUE BILL

/s/ [signature on reverse ]

 

FOREPERSON

INDICTMENT - 7

 

Case 1:18-cr-OOO88-BLW Document 1 Filed 03/13/18 Page 8 of 8

BART M. DAVIS
UNITED STATES ATTORNEY
By:

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ASSISTANTS UNITED STATE“S ATTORNEY

INDICTMENT - 8

 

